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                 PACHECO WATER DISTRICT; MERCY SPRINGS WATER
 7               DISTRICT; EAGLE FIELD WATER DISTRICT; LAGUNA
                 WATER DISTRICT; FRESNO SLOUGH WATER DISTRICT
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10
                                       UNITED STATES DISTRICT COURT
11
                              EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
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13
   NORTH COAST RIVERS ALLIANCE,                          Case No. 1:16-CV-307 DAD-SKO
14 CALIFORNIA SPORTSFISHING
   PROTECTION ALLIANCE, PACIFIC                          STIPULATION AND [PROPOSED]
15 COAST FEDERATION OF FISHERMEN’S                       ORDER TO EXTEND TIME TO
   ASSOCIATIONS, SAN FRANCISCO CRAB                      RESPOND TO THE THIRD AMENDED
16 BOAT OWNERS ASSOCIATION, INC., and                    AND SUPPLEMENTAL COMPLAINT
   INSTITUTE FOR FISHERIES RESOURCES,
17                                                       (Fed. R. Civ. P. 6 & Local Rule 144)
               Plaintiffs,
18                                                       Judge:   Hon. Dale A. Drozd
         v.
19
   UNITED STATES DEPARTMENT OF THE
20 INTERIOR, et al.,

21                       Defendants,

22

23
           STIPULATION REGARDING EXTENSION OF TIME TO RESPOND TO THIRD
24
                                 AMENDED AND SUPPLEMENTAL COMPLAINT
25
                         Pursuant to Local Rule 144, Defendants TRANQUILLITY IRRIGATION
26
     DISTRICT; PACHECO WATER DISTRICT; MERCY SPRINGS WATER DISTRICT; EAGLE
27
     FIELD WATER DISTRICT; LAGUNA WATER DISTRICT; and FRESNO SLOUGH WATER
28
     2997147v1 / 19493.0017                          1
       STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO RESPOND TO THE THIRD AMENDED
                                 AND SUPPLEMENTAL COMPLAINT
     Case 1:16-cv-00307-DAD-SKO Document 180 Filed 02/28/22 Page 2 of 4


 1 DISTRICT (collectively, “Defendants”) and Plaintiffs NORTH COAST RIVERS ALLIANCE,

 2 CALIFORNIA SPORTSFISHING PROTECTION ALLIANCE, PACIFIC COAST

 3 FEDERATION OF FISHERMEN’S ASSOCIATIONS, SAN FRANCISCO CRAB BOAT

 4 OWNERS ASSOCIATION, INC., and INSTITUTE FOR FISHERIES RESOURCES

 5 (collectively, “Plaintiffs”), by and through their respective counsel of record, hereby stipulate as

 6 follows:

 7                       WHEREAS, Plaintiffs electronically served their Summons (Docs. 162, 163, and

 8 165) and Third Amended and Supplemental Complaint for Declarative and Injunctive Relief

 9 (“TASC”) (Doc. 156) on the Defendants, and Defendants accepted such electronic service on

10 February 10, 2022;

11                       WHEREAS, counsel for Defendants anticipate the need for an additional amount of

12 time to respond to the TASC due to the complexity of the issues presented and the number of

13 Defendants needing to respond;

14                       WHEREAS, Defendants have requested, and Plaintiffs have consented to, an

15 additional forty (40) days for Defendants to respond to the TASC in addition to the time allowed

16 by pursuant to Federal Rule of Civil Procedure Rule 12(a), which new due date is intended to and

17 shall be April 12, 2022;

18                       WHEREAS, as this is the first extension request by Defendants in this action and

19 relating to responding to the TASC, and the Defendants and Plaintiffs have entered into this
20 Stipulation to be filed with the Court, the first twenty-eight (28) days of the extension are

21 authorized under Local Rule 144(a);

22                       WHEREAS, should the Court sign the [Proposed] Order included hereto,

23 Defendants and Plaintiffs agree and hereby request that the Court extend the time to respond to the

24 TASC for the remaining amount of the request for extension.

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     2997147v1 / 19493.0017                               2
       STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO RESPOND TO THE THIRD AMENDED
                                 AND SUPPLEMENTAL COMPLAINT
     Case 1:16-cv-00307-DAD-SKO Document 180 Filed 02/28/22 Page 3 of 4


 1                       NOW THEREFORE, IT IS HEREBY STIPULATED by and among the parties,

 2 through their respective counsel, that Defendants shall answer or otherwise respond to the Third

 3 Amended and Supplemental Complaint by April 12, 2022.

 4

 5             DATED: February 28, 2022          BAKER MANOCK & JENSEN, PC

 6                                               By:         /s/ Jessica S. Johnson
 7                                               Joseph M. Marchini
                                                 Lauren D. Layne
 8                                               Gabriel A. Delgado
                                                 Jessica S. Johnson
 9                                               Attorneys for Defendants TRANQUILLITY
                                                 IRRIGATION DISTRICT; PACHECO WATER
10
                                                 DISTRICT; MERCY SPRINGS WATER
11                                               DISTRICT; EAGLE FIELD WATER DISTRICT;
                                                 LAGUNA WATER DISTRICT; FRESNO
12                                               SLOUGH WATER DISTRICT
13             DATED: February 25, 2022          LAW OFFICES OF STEPHAN C. VOLKER
14                                                          /s/ Stephan C. Volker as authorized on
                                                 By:        2/25/2022
15                                               Stephan C. Volker
                                                 Alexis E. Krieg
16                                               Stephanie L. Clarke
17                                               Jamey M.B. Volker
                                                 Attorneys for Plaintiffs NORTH COAST RIVERS
18                                               ALLIANCE, CALIFORNIA SPORTSFISHING
                                                 PROTECTION ALLIANCE, PACIFIC COAST
19                                               FEDERATION OF FISHERMEN’S
                                                 ASSOCIATIONS, SAN FRANCISCO CRAB
20                                               BOAT OWNERS ASSOCIATION, INC., and
21                                               INSTITUTE FOR FISHERIES RESOURCES

22
                                                ORDER
23
     IT IS SO ORDERED
24
     Dated: ___________________
25
                                                HON. DALE A. DROZD
26                                              UNITED STATES DISTRICT JUDGE
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       STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO RESPOND TO THE THIRD AMENDED
                                 AND SUPPLEMENTAL COMPLAINT
     Case 1:16-cv-00307-DAD-SKO Document 180 Filed 02/28/22 Page 4 of 4


 1                                    CERTIFICATE OF SERVICE

 2             I hereby certify that on this 28th day of February, 2022, I electronically filed the
 3 foregoing STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO

 4 RESPOND TO THE THIRD AMENDED AND SUPPLEMENTAL COMPLAINT with the

 5 Clerk of the Court using the CM/ECF system which will send automatically transmit notifications

 6 to, and effects service upon, all counsel subscribed to receive notice of filings in this action.

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 8                                                        /s/ Janice L. Lewis
                                                          Janice L. Lewis
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     2997147v1 / 19493.0017                               4
       STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO RESPOND TO THE THIRD AMENDED
                                 AND SUPPLEMENTAL COMPLAINT
